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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION

GEORGE A SAMUELS, III,                              *

                      Plaintiff,                    *
v.                                                      Case No.   5:21-cv-00163-TES-CHW
                                                    *
LAMAR COUNTY,
                                                    *
                  Defendant.
___________________________________                 *

                                          JUDGMENT

       Pursuant to this Court’s Order dated October 26, 2021, having accepted the recommendation of

the United States Magistrate Judge, in its entirety, JUDGMENT is hereby entered dismissing this action.

       This 28th day of October, 2021.

                                            David W. Bunt, Clerk


                                            s/ Tydra Miller, Deputy Clerk
